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                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF ARIZONA

Trevor Reid,                                    | Case No. CV-22-00068-PHX-SMB
                                                |
Crystale Reason                                 |
                                                |
               Plaintiffs                       |
                                                |
v.                                              |
                                                |
U.S. Department of the Interior, et al          |
                                                |
               Defendants                       | [PROSPOSED]
                                                | CLERK’S ENTRY OF DEFAULT


       Pursuant to Rule 55(a) of the Federal Rules of Civil Procedure and upon

application by the Plaintiff, default is hereby entered against Defendants U.S. Department

of the Interior and National Park Service.

DEFAULT ENTERED this _____ day of July, 2022.




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